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AO 1 99A Order Setting Con ditions o f Release




                                                                          UNITED STATES DISTRICT COURT
                                                                                                      for the
                                                                                                District of Alaska


                                                      UNITED STATES OF AMERICA                              )
                                                                 v.                                         )
                                                                                                            )   Case No. 3:23-CR-00051-14-RRB-KFR
                                                             FRIEDA GILLESPIE                               )
                                                                    Defendant                               )

                                                                    AMENDED ORDER SETTING CONDITIONS OF RELEASE

                                        IT IS ORDERED that the defendant’s release is subject to these conditions:

                                        (1) The defendant must not violate federal, state, or local law while on release.

                                        (2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 407002.

                                        (3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making any
                                            change of residence or telephone number.

                                        (4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
                                            the court may impose.

                                                 The defendant must appear at:                                       U.S. District Court
                                                                                                                            Place
                                                                                                    Anchorage, Alaska

                                                 on                                                   AS ORDERED
                                                                                                        Date and Time


                                                 If blank, defendant will be notified of next appearance.

                                        (5)      The defendant must sign an Appearance Bond, if ordered.




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           AO 199B (Rev. 12/20) Additional Conditions of Release                                                                                                                              Page 2 of 4


                                                                                         ADDITIONAL CONDITIONS OF RELEASE
AO 1 99B Additio nal Con ditions o f Release




                 Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
                 appearance of the person as required and the safety of any other person and the community.

                                                IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:
                 ( ☐ ) (6)                            The defendant is placed in the custody of:
                                                     Person or organization
                                                     Address (only if above is an organization)
                                                     City and state                                                                                  Tel. No.
                                               who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
                                               immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.
                                               Signed:


                                                              Custodian(s)                              Date                                 Custodian(s)                              Date
                 ( ☒ ) (7)                            The defendant must:
                                               (☒)        submit to supervision by and report for supervision to the U.S. Probation & Pretrial Services Office as directed by the probation officer,
                                                          telephone number                          , no later than                                          .
                                               (☒)        continue or actively seek employment.
                                               (☐)        continue or start an education program.
                                               (☒)        surrender any passport to: U.S. Probation & Pretrial Services
                                               (☒)        not obtain a passport or other international travel document.
                                               (☒)        abide by the following restrictions on personal association, residence, or travel: Remain in the District of Alaska unless prior approval
                                                          to travel outside the district is granted by USPO; to reside at a locations approved by USPO
                                               ( ☒)       avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                                                          including: no contact with individuals in case numbers 3:23-cr-00050, 90, 91, and 104


                                               (☐)        get medical or psychiatric treatment:


                                               (☐)        return to custody each              at               o’clock after being released at                   o’clock for employment, schooling,
                                                          or the following purposes:


                                               (☐)        maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                                                          necessary.
                                               (☒)        not possess a firearm, destructive device, or other weapon.
                                               (☒)        not use alcohol ( ☒ ) at all ( ☐ ) excessively.
                                               (☒)        not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                                                          medical practitioner.
                                               (☒)        submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                                                          random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                                                          prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                                                          of prohibited substance screening or testing.
                                               (☒)        participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                                                          supervising officer.
                                               (☒)        participate in one of the following location restriction programs and comply with its requirements as directed.
                                                           ( ☒ ) (i) Curfew. You are restricted to your residence every day ( ☒ ) from 10:00 p.m. to 6:00 a.m. , or ( ☒ ) as
                                                                        directed by the pretrial services office or supervising officer; or
                                                           ( ☐ ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                                                       medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                                                       activities approved in advance by the pretrial services office or supervising officer; or
                                                           ( ☐ ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                                                       court appearances or other activities specifically approved by USPO and the court.
                                                           ( ☐ ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                                                                       you must comply with the location or travel restrictions as imposed by the court.
                                                                       Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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                                                 ADDITIONAL CONDITIONS OF RELEASE

       (☒)        submit to the following location monitoring technology and comply with its requirements as directed:
                   ( ☒ ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
                   ( ☐ ) (ii) Voice Recognition; or
                   ( ☐ ) (iii) Radio Frequency (RF); or
                   ( ☐ ) (iv) GPS.
       (☐)        pay all or part of the cost of location monitoring based on your ability to pay as determined by the pretrial services or supervising officer.
       (☒ )       report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                  questioning, or traffic stops.
                  The defendant must reside in transitional housing or other residence approved in advance by Pretrial Services. If residing in transitional
                  living facility, the defendant must abide by all rules and regulations of the facility. No visitors at your residence unless prior approval is
       (☒ )        granted by USPO.
       (☐ )




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AO 1 99C Advice of Pe nalties/Acknowledg ment




                                                                   ADVICE OF PENALTIES AND SANCTIONS

               TO THE DEFENDANT:

               YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

                        Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation
               of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment, a
               fine, or both.
                        While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years and
               for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive
               (i.e., in addition to) to any other sentence you receive.
                        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with
               a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate
               a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more
               serious if they involve a killing or attempted killing.
                        If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may be
               prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
                        (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you will be fined not
                              more than $250,000 or imprisoned for not more than 10 years, or both;
                        (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will be fined not more
                              than $250,000 or imprisoned for not more than five years, or both;
                        (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
                        (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
                        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In addition,
               a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                                           Acknowledgment of the Defendant

                      I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
               of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                            Defendant’s Signature


                                                                                                            Anchorage, AK
                                                                                                                City and State



                                                                         Directions to the United States Marshal

                 ( ☐ ) The defendant may remain released on his/her own recognizance.
                 ( ☐ ) The defendant is ORDERED released after processing.
                 ( ☐ ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has
                       posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the
                       appropriate judge at the time and place specified.



               Date: 5/21/2024
                                                                                                          Judicial Officer’s Signature


                                                                                         Kyle F. Reardon, United States Magistrate Judge
                                                                                                            Printed name and title


                                                 DISTRIBUTION:   COURT    DEFENDANT    PRETRIAL SERVICE     U.S. ATTORNEY          U.S. MARSHAL
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